                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WISCONSIN
                                MILWAUKEE DIVISION



STEVEN DUNCAN, et al., Individually and
on Behalf of All Others Similarly Situated,

                            Plaintiffs,       Civil No. 2:16-cv-01229-PP
        vs.                                   CLASS ACTION
JOY GLOBAL INC., et al.,

                            Defendants.



                             STIPULATION OF SETTLEMENT




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        This Stipulation of Settlement, dated May 22, 2018 (the “Stipulation”), is made and entered

into by and among the following Settling Parties to the above-captioned litigation (the “Litigation”):

(i) the Court-appointed Lead Plaintiffs Steven Duncan, Peter Cahill and Charles Caparelli (“Lead

Plaintiffs”), by and through their counsel of record in the Litigation; and (ii) Joy Global Inc. (“Joy

Global” or the “Company”), Edward L. Doheny II, Steven L. Gerard, Mark J. Gliebe, John T.

Gremp, John Nils Hanson, Gale E. Klappa, Richard B. Loynd, P. Eric Siegert and James H. Tate (all

defendants may be referred to collectively as the “Defendants”; the individuals may be referred to

herein as the “Individual Defendants”), by and through their counsel of record in the Litigation. The

Stipulation is intended by the Settling Parties to fully, finally, and forever resolve, discharge,

relinquish, release, waive, dismiss with prejudice and settle the Released Claims, upon and subject to

the terms and conditions hereof and subject to the approval of the United States District Court for the

Eastern District of Wisconsin (the “Court”).

I.      THE LITIGATION

        This is an action on behalf of a putative class of all Persons who purchased, sold, or held Joy

Global common stock during the period from and including September 1, 2016, the record date for

Joy Global’s special stockholder meeting regarding the acquisition of Joy Global by Komatsu Ltd.

(“Komatsu”) and certain of its subsidiaries (the “Acquisition”), through and including April 5, 2017,

the date the Acquisition closed. On July 21, 2016, Joy Global issued a press release announcing

execution of the Agreement and Plan of Merger (the “Merger Agreement”), pursuant to which

Komatsu and certain of its subsidiaries would purchase all of Joy Global’s outstanding shares for

$28.30 per share. On August 15, 2016, Joy Global filed with the SEC a Preliminary Proxy

Statement on Schedule 14A. On September 2, 2016, Joy Global filed with the SEC the Definitive

Proxy Statement on Schedule 14A (the “Proxy”).



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        Joy Global issued additional supplemental disclosures dated September 29, 2016 and

October 3, 2016 (the “Supplements”).

        On September 13, 2016, Plaintiff Duncan filed the initial complaint in this matter (the “Initial

Complaint”). The Initial Complaint alleged claims for breach of fiduciary duty and violations of

§§14(a) and 20(a) of the Securities Exchange Act of 1934 (the “1934 Act”) and SEC Rule 14a-9

promulgated thereunder. In addition to the Defendants identified herein, the Initial Complaint

named as defendants Komatsu Ltd., Komatsu America Corp., and Pine Solutions, Inc. After

negotiation, on October 26, 2016, the then-existing parties agreed to a stipulation requiring that, inter

alia, an amended complaint, if any, would be filed not later than 30 days from the date of the

appointment by the Court of lead plaintiff and lead counsel, which stipulation the Court signed on

November 1, 2016 and November 9, 2016.

        Also on September 13, 2016, Plaintiff Duncan’s counsel issued a notice to investors

informing them of the right to seek appointment as lead plaintiff by November 7, 2016.

        Between August 24, 2016 and September 8, 2016, six other complaints were filed on behalf

of Joy Global’s shareholders purportedly arising out of the Acquisition (the “Related Actions”).1 On

October 5, 2016, all plaintiffs in the Related Actions filed a “Stipulation and [Proposed] Order

Concerning Plaintiffs’ Voluntary Dismissal of the Above Actions,” stating that plaintiffs Oduntan,

Soffer, Gordon, Rote, Tansey and McGregor were dismissing their cases with prejudice as to them

only. On October 7, 2016, the Court signed an Order dismissing the Related Actions with prejudice

as to those named plaintiffs only.




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        The Related Actions are: Oduntan v. Joy Global Inc., et al., No. 16-cv-1136 (filed 8/24/16);
Soffer v. Doheny, et al., No. 16-cv-1148 (filed 8/26/16); Gordon v. Joy Global Inc., et al., No. 16-cv-
1153 (filed 8/26/16); Rote v. Joy Global Inc., et al., No. 16-cv-1186 (filed 9/2/16); Tansey v. Joy
Global Inc., et al., No. 16-cv-1201 (filed 9/6/16); and McGregor v. Joy Global Inc., et al., No. 16-
cv-1213 (filed 9/8/16).

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        On November 7, 2016, Lead Plaintiffs filed motions seeking appointment as lead plaintiffs

and their selected counsel as lead counsel in this action. More specifically, Plaintiff Cahill and

Plaintiff Caparelli filed a motion seeking appointment as lead plaintiffs pursuant to the Private

Securities Litigation Reform Act of 1995 (“PSLRA”), 15 U.S.C. §§78u-4(a)(3)(B), and seeking

approval of their selection of Bronstein Gewirtz & Grossman, LLC as Lead Counsel and Bykhovsky

Law LLC as Liaison Counsel. The same day, Plaintiff Duncan filed a motion seeking appointment

as lead plaintiff and for an order appointing his selection of Robbins Geller Rudman & Dowd LLP as

lead counsel. Plaintiffs Cahill, Caparelli and Duncan, through counsel, negotiated a resolution of the

competing lead plaintiff and lead counsel motions. As a result of those arm’s-length negotiations, on

November 22, 2016, Duncan filed a Stipulation and [Proposed] Order Appointing Lead Plaintiff and

Lead Counsel Pursuant to the PSLRA (the “Leadership Stipulation”) stating, inter alia, that their

“respective counsel, have agreed, subject to this Court’s approval, that Messrs. Cahill, Caparelli and

Duncan should be jointly appointed Lead Plaintiff and their counsel approved as Lead Counsel.”

Defendants took “no position on the pending motions and reserv[ed] all rights to challenge the Rule

23 requirements at the class certification stage.” On November 28, 2016, the Court approved the

Leadership Stipulation and ordered: “Pursuant to 15 U.S.C. §78u-4(a)(3)(B), the court APPOINTS

Peter Cahill, Charles Caparelli and Steven Duncan as Lead Plaintiffs”; “Pursuant to 15 U.S.C. §78u-

4(a)(3)(B)(v), the court APPROVES the Lead Plaintiffs’ selection of Robbins Geller Rudman &

Dowd LLP and Bronstein Gewirtz & Grossman LLC, and APPOINTS those firms as Lead Counsel

for the Lead Plaintiffs; and APPROVES the Lead Plaintiffs’ selection of Wagner Law Group, S.C.

as Local Counsel, and APPOINTS that firm as Local Counsel for the Lead Plaintiffs.”

        On December 27, 2016, Lead Plaintiffs and the then-existing defendants entered into a

stipulation stating, inter alia, that “the Parties agree that the efficient prosecution of this case and

administration of justice favors extending the time for lead plaintiffs to amend the complaint and for

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the Defendants to respond to the amended complaint until after the transaction closes” and that

“Lead Plaintiffs shall file an amended complaint not later than 21 days from the date on which the

transaction closes.” The Court approved that stipulation, which also contained a briefing schedule

for any subsequent motions to dismiss, on December 27, 2016.

        Twenty-one days after the close of the Acquisition, on April 26, 2017, Lead Plaintiffs filed

an Amended Complaint for Violations of §§14(a) and 20(a) of the Securities Exchange Act of 1934

(the “Amended Complaint”). The Amended Complaint dropped the claims for breach of fiduciary

duty and dropped Komatsu Ltd., Komatsu America Corp., and Pine Solutions Inc. as defendants. As

noted, however, the Amended Complaint continued to allege claims on behalf of Joy Global

stockholders for violations of §§14(a) and 20(a) of the 1934 Act and SEC Rule 14a-9 promulgated

thereunder.

        Defendants filed an omnibus Motion to Dismiss on June 26, 2017 (the “Motion to Dismiss”).

In the Motion to Dismiss, Defendants argued that under Fed. R. Civ. P. 12(b)(6), the Amended

Complaint failed to state a claim upon which relief could be granted and should be dismissed with

prejudice. On August 10, 2017, Lead Plaintiffs filed a Memorandum of Law in Opposition to

Defendants’ Motion to Dismiss the Amended Class Action Complaint. On September 11, 2017,

Defendants filed a Reply Memorandum of Law in Support of Defendants’ Motion to Dismiss the

Amended Class Action Complaint. While the Motion to Dismiss remained pending, the parties filed

the following notices, responses, and motions to consider additional authority:

        •       October 6, 2017: Lead Plaintiffs filed a Notice of Recent Authority calling the
                Court’s attention to a recent “Findings and Recommendations” issued by the
                Honorable Magistrate Judge Youlee Yim You of the United States District Court for
                the District of Oregon in NECA-IBEW Pension Trust Fund v. Precision Castparts
                Corp., No. 3:16-cv-01756-YY (Dist. Or. Oct. 3, 2017) (“Precision Castparts”).

        •       October 13, 2017: Defendants responded to Lead Plaintiffs’ Notice regarding
                Precision Castparts.


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        •       January 30, 2018: Lead Plaintiffs filed a Supplemental Notice of Recent Authority
                regarding the district court’s adoption of the Precision Castparts Findings and
                Recommendations.

        •       February 2, 2018: Defendants moved the Court, under Civil Local Rules 7(h) and
                7(i), for an order permitting them to file supplemental authority concerning: City of
                Hialeah Employees’ Retirement Sys. v. FEI Co., Case No. 3:16-cv-1792-SI (D. Or.
                Jan. 25, 2018) (“FEI”).

        •       February 9, 2018: Lead Plaintiffs responded to Defendants’ motion regarding FEI.

        In December 2017, the parties’ counsel began discussing the potential for resolution of this

matter. Arm’s-length negotiations took place over the next approximately three months and on

March 23, 2018, Defendants filed a “Notice of Settlement” with the Court stating that “the parties

have reached a settlement in principle that would resolve all outstanding issues in this case among all

parties.”

II.     DEFENDANTS’ DENIALS OF WRONGDOING AND LIABILITY

        This Stipulation constitutes a compromise of matters that are in dispute between the parties.

Each of the Defendants have denied and continue to deny any wrongdoing by or liability against

them arising out of any of the conduct, statements, acts, or omissions alleged, or that could have

been alleged, in the Litigation. Defendants expressly deny that Lead Plaintiffs have asserted any

valid claims as to any of them, and expressly deny any and all allegations of fault, liability,

wrongdoing, or damages whatsoever and maintain that their conduct was at all times proper and in

compliance with all applicable provisions of law. In addition, Defendants maintain that they have

meritorious defenses to all claims alleged in the Litigation.

        This Stipulation shall in no event be construed or deemed to be evidence of an admission or

concession on the part of any Defendant, or any Released Persons (defined below), with respect to

any claim or of any fault, liability, wrongdoing, negligence, omission, or damage whatsoever, or any

infirmity in the defenses that Defendants have asserted. Defendants’ decision to settle the Litigation

is based on the conclusion that further conduct of the Litigation could be protracted and expensive,
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that it is desirable that the Litigation be fully and finally settled and that it would be beneficial to

avoid the uncertainty and risks inherent in any litigation.

III.    CLAIMS OF LEAD PLAINTIFFS AND BENEFITS OF SETTLEMENT

        Lead Plaintiffs and Lead Counsel believe that the claims asserted in the Litigation have merit

and that the evidence developed to date supports those claims. Lead Plaintiffs and Lead Counsel,

however, recognize and acknowledge the expense and length of continued proceedings necessary to

prosecute the Litigation against Defendants through trial, potential post-trial proceedings sought by

Defendants, and appeals. Lead Plaintiffs and Lead Counsel also have taken into account the

uncertain outcome and the risk of any litigation, as well as the difficulties and delays inherent in any

litigation. Lead Plaintiffs and Lead Counsel also are mindful of the inherent problems of proof and

possible defenses to the violations asserted in the Litigation. Lead Plaintiffs and Lead Counsel

believe that the Settlement set forth in this Stipulation confers substantial benefits upon the Class.

Based on their evaluation, Lead Plaintiffs and Lead Counsel have determined that the Settlement set

forth in this Stipulation is in the best interests of the Class, and that the Settlement provided for

herein is fair, reasonable and adequate.

IV.     TERMS OF STIPULATION AND AGREEMENT OF SETTLEMENT

        NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by and among Lead

Plaintiffs (for themselves and on behalf of the Class Members (as defined below)) and the

Defendants, by and through their respective counsel of record, that, subject to the approval of the

Court, pursuant to Rule 23(e) of the Federal Rules of Civil Procedure and the PSLRA, the Litigation

and the Released Claims shall be finally, fully and forever resolved, discharged, relinquished,

released, waived, settled, and dismissed with prejudice, upon and subject to the terms and conditions

of the Stipulation, as follows:




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        1.       Definitions

        As used in the Stipulation the following terms have the meanings specified below:

        1.1      “Authorized Claimant” means any Class Member whose claim for recovery has been

allowed pursuant to the terms of the Plan of Allocation ultimately approved by the Court.

        1.2      “Claim Form” or “Proof of Claim Form” or “Proof of Claim and Release” means the

form, substantially in the form attached hereto as Exhibit A-2.

        1.3      “Claimant” means a person or entity who or which submits a Claim Form to the

Claims Administrator.

        1.4      “Claims Administrator” means the firm of Gilardi & Co. LLC.

        1.5      “Class” means: all Persons who purchased, sold or held Joy Global common stock

during the period from and including September 1, 2016, the record date for Joy Global’s special

stockholder meeting regarding the acquisition of Joy Global by Komatsu and certain of its

subsidiaries, through and including April 5, 2017, the date the Acquisition closed. Excluded from

the Class are (i) Defendants; (ii) members of the immediate families of each Defendant; (iii) Joy

Global’s subsidiaries and affiliates; (iv) any entity in which any Defendant has a controlling interest;

and (v) the legal representatives, heirs, successors, administrators, executors, and assigns of each

defendant. Also excluded from the Class are those Persons who properly exclude themselves by

timely and validly requesting exclusion from the Class pursuant to the Notice of Pendency and

Proposed Settlement of Class Action to be sent to Class Members pursuant to the Preliminary

Approval Order.

        1.6      “Class Member” or “Member of the Class” means any Person who falls within the

definition of the Class as set forth in ¶1.5 of the Stipulation.

        1.7      “Class Period” means the period commencing on September 1, 2016 and ending on

April 5, 2017, inclusive.

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        1.8      “Corporate Defendant” means Joy Global.

        1.9      “Court” means the United States District Court for the Eastern District of Wisconsin.

        1.10     “Defendants” means Joy Global, Edward L. Doheny II, Steven L. Gerard, Mark J.

Gliebe, John T. Gremp, John Nils Hanson, Gale E. Klappa, Richard B. Loynd, P. Eric Siegert and

James H. Tate.

        1.11     “Defendants’ Counsel” means the undersigned counsel for Defendants.

        1.12     “Defendants’ Insurance Claims” means any or all of Defendants’ claims and rights

existing at any point in time, whether known or unknown, to seek insurance coverage or any other

relief or finding of liability from any insurer in connection with or related to this Settlement or the

subject matter of the Litigation or the Related Actions.

        1.13     “Effective Date” means the first date by which all of the events and conditions

specified in ¶7.1 of the Stipulation have been met and have occurred.

        1.14     “Escrow Account” means the account described in ¶2.1 through ¶2.4 hereof.

        1.15     “Escrow Agent” means Robbins Geller Rudman & Dowd LLP or its successor(s).

        1.16     “Final” means when the last of the following with respect to the Order and Final

Judgment, substantially in the form of Exhibit B attached hereto, shall occur: (i) the expiration of

three (3) business days after the time for the filing of any motion to alter or amend the Order and

Final Judgment under Federal Rule of Civil Procedure 59(e) without any such motion having been

filed; (ii) the expiration of the time for the filing or noticing of any appeal from the Order and Final

Judgment without any appeal having been filed; and (iii) if such motion to alter or amend is filed or

if an appeal is filed or noticed, then immediately after the determination of that motion or appeal so

that the Order and Final Judgment is no longer subject to any further judicial review or appeal

whatsoever, whether by reason of affirmance by court of last resort, lapse of time, voluntary

dismissal of the appeal or otherwise. For purposes of this paragraph, an appeal shall include any

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petition for a writ of certiorari or other writ that may be filed in connection with the approval or

disapproval of this Settlement, but shall not include any appeal that concerns only the issue of

attorneys’ fees and expenses, payment of Lead Plaintiffs’ time and expenses or the Plan of

Allocation of the Settlement Fund. Any proceeding or order, or any appeal or petition for a writ of

certiorari pertaining solely to any plan of distribution and/or application for attorneys’ fees, costs, or

expenses and/or Lead Plaintiffs’ request for payment of time and expenses, shall not in any way

delay or preclude the Order and Final Judgment from becoming Final.

        1.17     “Final Approval Hearing” means the hearing to determine whether the proposed

Settlement embodied by this Stipulation is fair, reasonable, and adequate to the Class, and whether

the Court should: (1) enter the Order and Final Judgment approving the proposed Settlement;

(2) approve the Plan of Allocation of settlement proceeds; and (3) assess Lead Counsel’s petition for

attorneys’ fees and expenses to Lead Plaintiffs’ counsel and Lead Plaintiffs’ request for payment of

time and expenses.

        1.18     “Individual Defendants” means Edward L. Doheny II, Steven L. Gerard, Mark J.

Gliebe, John T. Gremp, John Nils Hanson, Gale E. Klappa, Richard B. Loynd, P. Eric Siegert and

James H. Tate.

        1.19     “Joy Global” or the “Company” means Joy Global Inc.

        1.20     “Lead Counsel” means Robbins Geller Rudman & Dowd LLP and Bronstein, Gewirtz

& Grossman, LLC.

        1.21     “Lead Plaintiffs” means Steven Duncan, Peter Cahill and Charles Caparelli.

        1.22     “Liaison Counsel” means Kerkman Wagner & Dunn or its successor(s).

        1.23     “Litigation” means the above-captioned action, Duncan, et al. v. Joy Global Inc., et

al., Civil No. 2:16-cv-01229-PP in the United States District Court for the Eastern District of

Wisconsin, Milwaukee Division.

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        1.24    “Notice” means the Notice of Pendency and Proposed Settlement of Class Action

defined in ¶3.1 hereof.

        1.25    “Notice and Administration Costs” means the costs defined in ¶2.8 hereof.

        1.26    “Order and Final Judgment” means the judgment to be rendered by the Court, in the

form attached hereto as Exhibit B.

        1.27    “Person” means a natural person, individual, corporation, limited liability corporation,

professional corporation, limited liability partnership, partnership, limited partnership, limited

liability company, association, joint stock company, estate, legal representative, trust, unincorporated

association, government or any political subdivision or agency thereof, and any business or legal

entity and all of their respective spouses, heirs, beneficiaries, executors, administrators, predecessors,

successors, representatives, or assignees.

        1.28    “Plaintiffs’ Counsel” means any counsel who have appeared for Lead Plaintiffs in the

Litigation, specifically: Robbins Geller Rudman & Dowd LLP; Bronstein, Gewirtz & Grossman,

LLC; Kerkman Wagner & Dunn; Johnson Fistel, LLP; and Bykhovsky Law LLC; or their

successors. No other law firm is included within the definition of Plaintiffs’ Counsel.

        1.29    “Plan of Allocation” means a plan or formula of allocation of the Settlement Fund

whereby the Settlement Fund shall be distributed to Authorized Claimants after payment of expenses

of notice and administration of the Settlement, Taxes and Tax Expenses, and such attorneys’ fees,

costs, expenses (including time and expenses awarded by the Court to Lead Plaintiffs), and interest

as may be awarded by the Court. Any Plan of Allocation, as well as Exhibit A-2 hereto, is not part

of the Stipulation, and Defendants and their Related Parties shall have no responsibility or liability

with respect thereto.

        1.30    “Preliminary Approval Order” means the order described in ¶3.1 hereof, substantially

in the form attached hereto as Exhibit A.

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        1.31    “Related Parties” means, with respect to each Defendant, any and all of their related

parties, including, without limitation, any and all of their past or present parents (direct or indirect),

subsidiaries (direct or indirect), affiliates, predecessors, or successors, as well as any and all of its or

their current or former officers, directors, employees, associates, members of their immediate

families, agents or other persons acting on their behalf, investment banks, including, but not limited

to, Goldman Sachs Group, Inc., attorneys, advisors, financial advisors, publicists, independent

certified public accountants, auditors, accountants, assigns, creditors, administrators, heirs, estates,

or legal representatives. “Related Parties” also means any insurers of Defendants, but solely in the

context of, and in respect to, any Released Claims that could be asserted directly against such

insurers by Lead Plaintiffs.

        1.32    “Released Claims” means any and all claims that have been asserted, could have been

asserted, or could be asserted in the future in this Litigation; and any and all claims, actions,

potential actions, demands, losses, rights, causes of action, controversies, costs, damages, liabilities,

obligations, judgments, suits, matters and issues of any nature for any remedy, known or unknown,

suspected or unsuspected, accrued or unaccrued, whether class, individual, or otherwise, arising

under the laws, regulations, or common law of the United States of America, any state or political

subdivision thereof, or any foreign country or jurisdiction, in law, in contract, or in equity, and

regardless of legal theory, and including claims for indemnification, contribution, or otherwise

denominated, that have been asserted, could have been asserted, or could be asserted in the future, by

Lead Plaintiffs or any Class Member in his, her or its capacity as a purchaser, seller or holder of Joy

Global stock, that have arisen from, could have arisen, or relate in any manner to, in whole or in part,

the allegations, conduct, facts, events, transactions, acts, occurrences, statements, representations,

omissions or any other matter related to, or arising out of, the Acquisition, the Proxy and the

Supplements thereto, the projections and investor presentations referenced in the Amended

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Complaint, or to the purchase, sale, or holding of Joy Global’s common stock in the period from and

including September 1, 2016 through and including April 5, 2017. “Released Claims” includes

“Unknown Claims” as defined in ¶1.42 hereof. Notwithstanding any other provision to the contrary

herein, Released Claims shall not include Defendants’ Insurance Claims. For the avoidance of

doubt, nothing in this Stipulation is intended to, nor shall it be deemed to, release any claim that the

Defendants have against any of Defendants’ insurers.

        1.33    “Released Persons” means each and all of the Defendants and each and all of their

Related Parties.

        1.34    “Settled Defendants’ Released Claims” means any and all claims, actions, potential

actions, demands, losses, rights, causes of action, controversies, costs, damages, liabilities,

obligations, judgments, suits, matters and issues of any nature for any remedy, known or unknown,

suspected or unsuspected, accrued or unaccrued, whether class, individual, or otherwise, arising

under the laws, regulations, or common law of the United States of America, any state or political

subdivision thereof, or any foreign country or jurisdiction, in law, in contract, or in equity, and

regardless of legal theory, and including claims for indemnification, contribution, or otherwise

denominated, that have been asserted, could have been asserted, or could be asserted in the future by

the Released Persons or any of them against Lead Plaintiffs, Class Members, or Plaintiffs’ Counsel,

that arise out of or relate in any way to the institution, prosecution, or settlement of the claims

against the Released Persons, except for claims related to the enforcement of the Settlement. In all

events, Lead Plaintiffs, Plaintiffs’ Counsel, and all Class Members shall have no liability or

responsibility for Defendants’ Insurance Claims.

        1.35    “Settlement” means the settlement of the Litigation as set forth in this Stipulation.

        1.36    “Settlement Amount” means the principal amount of Twenty Million Dollars

($20,000,000.00), to be paid by the Company pursuant to ¶2.1 and ¶2.2 of this Stipulation. Neither

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Defendants nor their Related Parties shall have any obligation whatsoever to pay any amount over

and above the principal amount of Twenty Million Dollars ($20,000,000.00). Such amount is to be

paid as consideration for full and complete settlement of all the Released Claims.

        1.37    “Settlement Fund” means the Settlement Amount plus all interest and accretions

thereto after being transferred to an account controlled by the Escrow Agent, and which may be

reduced by payments or deductions as provided for herein or by court order.

        1.38    “Settling Parties” means, collectively, each of the Defendants and Lead Plaintiffs on

behalf of themselves and each of the Class Members.

        1.39    “Stipulation” means this Stipulation of Settlement, including the recitals and Exhibits

thereto.

        1.40    “Taxes” means all taxes (including any estimated taxes, interest or penalties) arising

with respect to the income earned by the Settlement Fund as described in ¶2.9.

        1.41    “Tax Expenses” means expenses and costs incurred in connection with the calculation

and payment of taxes or the preparation of tax returns and related documents, including, without

limitation, expenses of tax attorneys and/or accountants and mailing and distribution costs relating to

filing (or failing to file) the returns described in ¶2.9.

        1.42    “Unknown Claims” means (i) any of the Released Claims which Lead Plaintiffs or

any Class Member, or any of their agents or attorneys, does not know or suspect to exist in such

Person’s favor at the time of the release of the Released Claims, and (ii) any of the Settled

Defendants’ Released Claims that the Released Persons do not know or suspect to exist in his, her or

its favor at the time of the release of the Settled Defendants’ Released Claims, which, in the case of

both (i) and (ii), if known by such Person, might have affected such Person’s decision with respect to

this Settlement, including, without limitation, such Person’s decision not to object to this Settlement

or not to exclude himself, herself or itself from the Class. Unknown Claims include those Released

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Claims in which some or all of the facts comprising the claim may be suspected, or even undisclosed

or hidden. With respect to any and all Released Claims and the Settled Defendants’ Released

Claims, upon the Effective Date, Lead Plaintiffs and Defendants shall expressly, and each of the

Class Members and Released Persons shall be deemed to have, and by operation of the Order and

Final Judgment shall have, expressly waived to the fullest extent permitted by law, the provisions,

rights, and benefits of California Civil Code §1542, which provides:

               A general release does not extend to claims which the creditor does not
        know or suspect to exist in his or her favor at the time of executing the release,
        which if known by him or her must have materially affected his or her
        settlement with the debtor.

Lead Plaintiffs and Defendants shall expressly, and each of the Class Members and Released Persons

shall be deemed to have, and by operation of the Order and Final Judgment, shall have expressly

waived any and all provisions, rights, and benefits conferred by any law of any state or territory of

the United States, or principle of common law, which is similar, comparable or equivalent to

California Civil Code §1542. Lead Plaintiffs, Class Members and the Released Persons may

hereafter discover facts in addition to or different from those which such party now knows or

believes to be true with respect to the subject matter of the Released Claims and the Settled

Defendants’ Released Claims, but Lead Plaintiffs and Defendants shall expressly, and each Class

Member and Released Persons, upon the Effective Date, shall be deemed to have, and by operation

of the Order and Final Judgment shall have fully, finally, and forever settled and released any and all

Released Claims, or the Settled Defendants’ Released Claims, as the case may be, known or

unknown, suspected or unsuspected, contingent or non-contingent, whether or not concealed or

hidden, which now exist, or heretofore have existed, upon any theory of law or equity now existing

or coming into existence in the future, including, but not limited to, conduct that is negligent,

reckless, intentional, with or without malice, or a breach of any duty, law, or rule, without regard to

the subsequent discovery or existence of such different or additional facts, whether or not previously
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or currently asserted in any action. Lead Plaintiffs and Defendants acknowledge, and the Class

Members and Released Persons shall be deemed by operation of the Order and Final Judgment to

have acknowledged, that the foregoing waiver was separately bargained for and a key element of the

Settlement of which this release is a part.

        2.      The Settlement

                a.     The Settlement Fund

        2.1     In consideration of the terms of this Stipulation, Joy Global shall pay or cause to be

paid the Settlement Amount into the Escrow Account, no later than fourteen (14) days after the later

of: (i) entry of the Preliminary Approval Order, as defined in ¶3.1 herein; and (ii) the provision to

counsel for Defendants of payment instructions and a W-9 form providing the tax identification

number for the Escrow Agent. The Escrow Agent shall deposit the Settlement Amount, plus any

accrued interest, in a segregated escrow account maintained by the Escrow Agent.

        2.2     The deposit of the Settlement Amount is the only payment to be made by or on behalf

of Defendants in connection with this Settlement. The Individual Defendants do not have and

should not be suggested to have any payment liability. As set forth below, all fees, costs, and

expenses incurred by or on behalf of Lead Plaintiffs and the Class associated with the Settlement,

including, but not limited to, Taxes, Tax Expenses, administrative costs and costs of providing notice

of the Settlement to the Class Members, any award of attorneys’ fees and expenses of Plaintiffs’

Counsel, and any award to Lead Plaintiffs made by the Court pursuant to the PSLRA for reasonable

costs and expenses, shall be paid from the Settlement Fund, and in no event shall Defendants or their

Related Parties bear any responsibility for any such fees, costs or expenses.

        2.3     The payment of the Settlement Amount shall be made by Joy Global only. Joy

Global’s obligation to pay the Settlement Amount shall not be conditional upon any payment from or

on behalf of any of Joy Global’s insurers.

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                b.      The Escrow Agent

         2.4    The Escrow Agent will invest the Settlement Fund created pursuant to ¶2.1 hereof

only in instruments backed by the full faith and credit of the United States Government or fully

insured by the United States Government or an agency thereof, and will reinvest the proceeds of

these instruments as they mature in similar instruments at their then-current market rates. All costs

and risks related to the investment of the Settlement Fund in accordance with the guidelines set forth

in this paragraph shall be borne by the Settlement Fund and neither Defendants nor their Related

Parties shall have any responsibility for, interest in, or liability whatsoever with respect to the funds

held in the Escrow Account, including with respect to investment decisions, distribution of the

Settlement Fund, or the actions of the Escrow Agent, or any transactions executed by the Escrow

Agent.

         2.5    The Escrow Agent shall not disburse the Settlement Fund except as provided by: (i)

the Stipulation; (ii) an order of the Court; or (iii) prior written agreement of counsel for Defendants.

         2.6    Subject to further order(s) and/or directions as may be made by the Court, or as

provided in the Stipulation, the Escrow Agent is authorized to execute such transactions on behalf of

the Class Members as are consistent with the terms of the Stipulation. The Released Persons shall

have no responsibility for, interest in, or liability whatsoever with respect to, the actions of the

Escrow Agent, or any transaction executed by the Escrow Agent.

         2.7    All funds held by the Escrow Agent shall be deemed and considered to be in custodia

legis of the Court, and shall remain subject to the jurisdiction of the Court, until such time as such

funds shall be distributed or returned pursuant to the Stipulation and/or further order(s) of the Court.

         2.8    The Escrow Agent may pay from the Settlement Fund the costs and expenses

reasonably and actually incurred in connection with providing notice to Members of the Class,

mailing the Notice and Proof of Claim and Release and publishing notice (such amount shall

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include, without limitation, the actual costs of publication, printing and mailing the Notice, and

reimbursement to nominee owners for forwarding notice to their beneficial owners), soliciting Class

claims, assisting with the filing of claims, administering and distributing the Net Settlement Fund to

Authorized Claimants, processing Proofs of Claim and Releases, and paying escrow fees and costs,

if any, and the administrative expenses incurred and fees charged by the Claims Administrator in

connection with providing notice and processing the submitted claims (“Notice and Administration

Costs”). In the event that the Settlement does not become final, any money paid or incurred for the

above purposes, including any related fees, shall not be returned or repaid to Joy Global or its

insurers.

                c.     Taxes

        2.9     (a)    The Settling Parties and the Escrow Agent agree that the Settlement Fund is

intended to be and should be treated as being at all times a “qualified settlement fund” within the

meaning of Treas. Reg. §1.468B-1. In addition, the Escrow Agent shall timely make such elections

as necessary or advisable to carry out the provisions of this ¶2.9, including the “relation-back

election” (as defined in Treas. Reg. §1.468B-1(j)(2)) back to the earliest permitted date. Such

elections shall be made in compliance with the procedures and requirements contained in such

Treasury regulations promulgated under §1.468B of the Internal Revenue Code of 1986, as amended

(the “Code”). It shall be the responsibility of the Escrow Agent to timely and properly prepare and

deliver the necessary documentation for signature by all necessary parties, and thereafter to cause the

appropriate filing to occur.

                (b)    For the purpose of §1.468B of the Code and the Treasury regulations

promulgated thereunder, the Escrow Agent shall be designated as the “administrator” of the

Settlement Fund. The Escrow Agent shall timely and properly file all informational and other tax

returns necessary or advisable with respect to the Settlement Fund (including, without limitation, the

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returns described in Treas. Reg. §1.468B-2(k)). Such returns (as well as the election described in

¶2.9(a) hereof) shall be consistent with this ¶2.9 and in all events shall reflect that all Taxes as

defined in ¶1.40 hereof (including any estimated Taxes, interest, or penalties) on the income earned

by the Settlement Fund shall be paid out of the Settlement Fund as provided in ¶2.9(c) hereof.

                (c)     All: (a) Taxes (including any estimated Taxes, interest, or penalties) arising

with respect to the income earned by the Settlement Fund, including any Taxes or tax detriments that

may be imposed upon Defendants or their Related Parties with respect to any income earned by the

Settlement Fund for any period during which the Settlement Fund does not qualify as a “qualified

settlement fund” for federal or state income tax purposes; and (b) Tax Expenses, and costs incurred

in connection with the operation and implementation of this ¶2.9 (including, without limitation,

expenses of tax attorneys and/or accountants and mailing and distribution costs and expenses relating

to filing (or failing to file) the returns described in this ¶2.9), shall be paid out of the Settlement

Fund. In no event shall Defendants or their Related Parties have any responsibility for or liability

with respect to the Taxes or the Tax Expenses. Further, Taxes and Tax Expenses shall be treated as,

and considered to be, a cost of administration of the Settlement Fund and shall be timely paid by the

Escrow Agent out of the Settlement Fund without prior order from the Court, and the Escrow Agent

shall be obligated (notwithstanding anything herein to the contrary) to withhold from distribution to

Authorized Claimants any funds necessary to pay such amount, including the establishment of

adequate reserves for any Taxes and Tax Expenses (as well as any amounts that may be required to

be withheld under Treas. Reg. §1.468B-2(1)(2)); neither Defendants nor their Related Parties are

responsible therefor nor shall they have any liability with respect thereto and shall have no

responsibility or liability for the acts or omissions of Lead Counsel or their agents with respect to the

payment of Taxes, as described herein. The Settling Parties hereto agree to cooperate with the



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Escrow Agent, each other, and their tax attorneys and accountants to the extent reasonably necessary

to carry out the provisions of this ¶2.9.

                  (d)    Neither Defendants nor their Related Parties are responsible for Taxes, Tax

Expenses, or Notice and Administration Costs, nor shall they be liable for any claims with respect

thereto.

                  d.     Termination of Settlement

           2.10   In the event that the Stipulation is not approved, or is terminated pursuant to ¶7.3 or

¶7.4, or is canceled, or fails to become effective for any reason, including, without limitation, in the

event the Order and Final Judgment is reversed or vacated following any appeal taken therefrom, or

is successfully collaterally attacked, the Settlement Fund (including accrued interest and income),

less Notice and Administration Costs, Taxes or Tax Expenses paid in connection with the Settlement

provided for herein, incurred or due and owing, shall be refunded in accordance with the instructions

to be provided by counsel for Defendants no later than ten (10) business days from the termination

event or as otherwise agreed upon in writing by counsel for Defendants.

           3.     Preliminary Approval Order and Final Approval Hearing

           3.1    Promptly after execution of the Stipulation, Lead Plaintiffs shall submit the

Stipulation together with its Exhibits to the Court and Lead Counsel shall apply for entry of an order,

substantially in the form and content of Exhibit A attached hereto (the “Preliminary Approval

Order”), requesting, inter alia, the preliminary approval of the Settlement set forth in the Stipulation,

approval for the mailing of the Notice of Pendency and Proposed Settlement of Class Action (the

“Notice”) and the Proof of Claim and Release, substantially in the forms of Exhibits A-1 and A-2

attached hereto, and approval of the publication of a Summary Notice, substantially in the form of

Exhibit A-3 attached hereto, or such other substantially similar form agreed to by the Settling

Parties.

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        3.2     Lead Plaintiffs will request that the Court hold the Final Approval Hearing and finally

approve the Settlement of the Litigation as set forth herein. At or after the Final Approval Hearing,

Lead Counsel also will request that the Court approve the proposed Plan of Allocation and the Fee

and Expense Application.

        4.      Releases

        4.1     Upon the Effective Date, as defined in ¶1.13 hereof, Lead Plaintiffs, and each and all

of the Class Members and anyone claiming through or on behalf of any of them, including, but not

limited to, their predecessors, successors, agents, representatives, attorneys, affiliates, heirs,

executors, administrators, and assigns, shall be deemed to have, and by operation of the Order and

Final Judgment shall have, fully, finally, and forever resolved, discharged, relinquished, released,

waived, settled, and dismissed with prejudice any and all Released Claims (including, without

limitation, Unknown Claims), as well as any and all claims arising out of, relating to, or in

connection with, the defense, settlement, or resolution of the Litigation or the Released Claims,

against each and all of the Released Persons, regardless of whether a Class Member executes and

delivers a Proof of Claim and Release, except that claims relating to the enforcement of the

Settlement shall not be released.

        4.2     Upon the Effective Date, as defined in ¶1.13 hereof, without further action by anyone,

Lead Plaintiffs, each and all of the Class Members and anyone claiming through or on behalf of any

of them, including, but not limited to, their predecessors, successors, agents, representatives,

attorneys, affiliates, heirs, executors, administrators, and assigns, are and shall be forever barred and

enjoined from commencing, instituting, asserting, maintaining, enforcing, aiding, prosecuting, or

continuing to prosecute any action or proceeding in any forum (including, but not limited to, any

state or federal court of law or equity, any arbitral forum, any tribunal, administrative forum, or the

court of any foreign jurisdiction, or any other forum of any kind), any and all of the Released Claims

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(including, without limitation, Unknown Claims), as well as any and all claims arising out of,

relating to, or in connection with, the defense, settlement or resolution of the Litigation or the

Released Claims, against each and all of the Released Persons, regardless of whether such Class

Member executes and delivers a Proof of Claim and Release, except that claims relating to the

enforcement of the Settlement shall not be released.

        4.3     Upon the Effective Date, Lead Plaintiffs and each and every Class Member, for

themselves and for any Person claiming now or in the future through or on behalf of them, shall

covenant or be deemed to have covenanted not to sue any Released Persons with respect to any and

all Released Claims, except to enforce the terms and conditions contained in this Stipulation or the

Order and Final Judgment.

        4.4     The Proof of Claim and Release to be executed by Class Members shall release any

and all Released Claims against each and all of the Released Persons and shall be substantially in the

form contained in Exhibit A-2 attached hereto.

        4.5     Upon the Effective Date, as defined in ¶1.13 hereof, without further action by anyone,

each and all of the Released Persons shall be deemed to have, and by operation of the Order and

Final Judgment shall have, fully, finally, and forever released, relinquished, and discharged Lead

Plaintiffs, each and all of the Class Members, and Plaintiffs’ Counsel from all Settled Defendants’

Released Claims, and shall forever be enjoined from prosecuting such claims, except for claims

relating to the enforcement of the Settlement.

        4.6     In accordance with the PSLRA as codified at 15 U.S.C. §78u-4(f)(7)(A), (a) all

obligations to any Class Member of any Released Person arising out of the Litigation are discharged,

and (b) any and all claims for contribution arising out of the Litigation or any of the Released Claims

(i) by any person or entity against any of the Released Persons, and (ii) by any of the Released



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Persons against any person or entity, other than as set out in 15 U.S.C. §78u-4(f)(7)(A)(ii), are

hereby permanently barred, extinguished, discharged, satisfied and unenforceable.

        4.7     For the avoidance of doubt, nothing in this Stipulation is intended to, nor shall it be

deemed to, release any claim that the Defendants have against any of Defendants’ insurers.

        5.      Administration and Calculation of Claims, Final Awards, and
                Supervision and Distribution of Settlement Fund

        5.1     The Claims Administrator, subject to such supervision and direction of the Court

and/or Lead Counsel as may be necessary or as circumstances may require, shall administer and

calculate the claims submitted by Class Members and shall oversee distribution of the Net

Settlement Fund (defined below) to Authorized Claimants. Except for the Company’s obligation to

pay or cause payment of the Settlement Amount as set forth herein, Defendants and their Related

Parties shall have no responsibility for, interest in, or liability whatsoever with respect to the

investment or distribution of the Settlement Fund, the Plan of Allocation, the determination,

administration, or calculation of claims, the payment or withholding of Taxes or Tax Expenses, or

any losses incurred in connection therewith.

        5.2     The Settlement Fund shall be applied as follows:

                (a)    to pay all Notice and Administration Costs;

                (b)    to pay the Taxes and Tax Expenses;

                (c)    to pay Plaintiffs’ Counsel’s attorneys’ fees and expenses with interest thereon

(the “Fee and Expense Award”), if and to the extent awarded by the Court, and Lead Plaintiffs’ time

and expenses pursuant to 15 U.S.C. §78u-4(a)(4), if and to the extent awarded by the Court; and

                (d)    after the Effective Date, to distribute the balance of the Settlement Fund (the

“Net Settlement Fund”) to Authorized Claimants as allowed by the Stipulation, the Plan of

Allocation, or the Court.


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        5.3     Upon the Effective Date and thereafter, and in accordance with the terms of the

Stipulation, the Plan of Allocation, or such further approval and further order(s) of the Court as may

be necessary or as circumstances may require, the Net Settlement Fund shall be distributed to

Authorized Claimants, subject to and in accordance with the following:

                (a)    Each Class Member shall be required to submit a Proof of Claim and Release,

substantially in a form approved by the Court, supported by such documents as are designated

therein, including proof of the transactions claimed, or such other documents or proof as the Claims

Administrator, in its discretion, may deem acceptable;

                (b)    All Proofs of Claim and Releases must be submitted by the date specified in

the Notice unless such period is extended by Court order. Any Class Member who fails to submit a

Proof of Claim and Release by such date, or timely submits a Proof of Claim and Release that is

ultimately and finally disallowed or rejected by the Claims Administrator, shall be forever barred

from receiving any payment pursuant to this Stipulation, but shall in all other respects be bound by

all of the terms of this Stipulation and the Settlement, including the terms of the Order and Final

Judgment to be entered in the Litigation and the releases provided for herein, and will be barred from

bringing any action against the Released Persons concerning the Released Claims. A Proof of Claim

and Release shall be deemed to have been submitted when posted, if received with a postmark

indicated on the envelope and if mailed by first-class mail and addressed in accordance with the

instructions thereon. In all other cases, the Proof of Claim and Release shall be deemed to have been

submitted when actually received by the Claims Administrator. Notwithstanding the foregoing,

Lead Counsel shall have the discretion (but not the obligation) to accept for processing late-

submitted claims so long as the distribution of the Net Settlement Fund to Authorized Claimants is

not materially delayed thereby. No Person shall have any claim against Lead Plaintiffs, Lead



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Counsel or the Claims Administrator by reason of the decision to exercise or not exercise such

discretion;

                (c)    Each Proof of Claim and Release shall be submitted to and reviewed by the

Claims Administrator, who shall determine in accordance with this Stipulation and the approved

Plan of Allocation the extent, if any, to which each claim shall be allowed, subject to review by the

Court pursuant to subparagraph (e) below;

                (d)    Proofs of Claim and Releases that do not meet the submission requirements

may be rejected;

                (e)    Prior to rejection of a Proof of Claim and Release, the Claims Administrator

shall communicate with the Claimant in order to attempt to remedy the curable deficiencies. The

Claims Administrator shall notify, in a timely fashion and in writing, all Claimants whose Proofs of

Claim and Releases it proposes to reject in whole or in part, setting forth the reasons therefor, and

shall indicate in such notice that the Claimant whose claim is to be rejected has the right to a review

by the Court if the Claimant so desires and complies with the requirements of subparagraph (f)

below;

                (f)    If any Claimant whose claim has been rejected in whole or in part desires to

contest such rejection, the Claimant must, within twenty (20) days after the date of mailing of the

notice required in subparagraph (e) above, serve upon the Claims Administrator a notice and

statement of reasons indicating the Claimant’s grounds for contesting the rejection, along with any

supporting documentation, and requesting a review thereof by the Court. If a dispute concerning a

claim cannot be otherwise resolved, Lead Counsel shall thereafter present the request for review to

the Court;

                (g)    Each Claimant who submits a Proof of Claim and Release shall be deemed to

have submitted to the jurisdiction of the Court with respect to the Claimant’s claim, including, but

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not limited to, all releases provided for herein and in the Order and Final Judgment, and the claim

will be subject to investigation and discovery under the Federal Rules of Civil Procedure, provided

that such investigation and discovery shall be limited to the Claimant’s status as a Class Member and

the validity and amount of the Claimant’s claim. In connection with processing the Proofs of Claim

and Releases, no discovery shall be allowed on the merits of the Litigation or the Settlement; and

                (h)    The Claims Administrator shall calculate the claims of Authorized Claimants

in accordance with the Plan of Allocation. Following the Effective Date, the Claims Administrator

shall send to each Authorized Claimant his, her or its pro rata share of the Net Settlement Fund. No

distributions will be made to Authorized Claimants who would otherwise receive a distribution of

less than $10.00.

        5.4     Except for the Company’s obligation to pay or cause payment of the Settlement

Amount as set forth herein, Defendants and their Related Parties shall have no responsibility for,

interest in, or liability whatsoever with respect to the investment or distribution of the Settlement

Fund, the Plan of Allocation, the determination, administration, or calculation of claims, the payment

or withholding of Taxes or Tax Expenses, or any losses incurred in connection therewith.

        5.5     No Person shall have any claim of any kind against the Defendants, their Related

Parties, or counsel for Defendants with respect to the matters set forth in this Section 5.

        5.6     No Person shall have any claim against Lead Plaintiffs, the Escrow Agent, Plaintiffs’

Counsel, Defendants or any Released Persons or their counsel, or any claims administrator based on

distributions made substantially in accordance with this Stipulation and the Settlement contained

herein, the Plan of Allocation, or further order(s) of the Court.

        5.7     Defendants shall not have a reversionary interest in the Net Settlement Fund. The Net

Settlement Fund shall be distributed to the Authorized Claimants in accordance with the Plan of

Allocation set forth in the Notice and approved by the Court. The Claims Administrator will make

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reasonable and diligent efforts to have Class Members who are entitled to participate in the

distribution of the Net Settlement Fund cash their distributions. If there is any balance remaining in

the Net Settlement Fund after a reasonable period of time after the initial distribution of the Net

Settlement Fund (whether by reason of tax refunds, uncashed checks, or otherwise), Lead Counsel,

shall, if feasible, reallocate on a pro rata basis among Authorized Claimants who negotiated the

checks sent to them in the initial distribution and who would receive a minimum of $10.00. These

reallocations shall be repeated until the balance remaining in the Net Settlement Fund is de minimis

and any remainder shall thereafter be donated to the Federal Judicial Center Foundation.

        5.8     It is understood and agreed by the Settling Parties that any proposed Plan of

Allocation of the Net Settlement Fund, including, but not limited to, any adjustments to an

Authorized Claimant’s claim set forth therein, is not a part of this Stipulation and is to be considered

by the Court separately from the Court’s consideration of the fairness, reasonableness, and adequacy

of the Settlement set forth in the Stipulation, and any order or proceeding relating to the Plan of

Allocation shall not operate to terminate or cancel the Stipulation or affect the finality of the Court’s

Order and Final Judgment approving the Stipulation and the Settlement set forth therein, or any other

orders entered pursuant to the Stipulation.

        5.9     Class Members and Defendants shall be bound by the terms of this Stipulation,

irrespective of whether the Court disapproves or modifies the Plan of Allocation. The time to appeal

from approval of the Settlement shall commence upon the Court’s entry of the Order and Final

Judgment regardless of whether a Plan of Allocation has been approved.

        6.      Lead Counsel’s Attorneys’ Fees and Expenses

        6.1     Lead Counsel may submit an application or applications (the “Fee and Expense

Application”) for: (a) an award of attorneys’ fees; and (b) payment of expenses in connection with

prosecuting the Litigation; and (c) any interest on such attorneys’ fees and expenses at the same rate

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and for the same periods as earned by the Settlement Fund (until paid). Any and all such fees,

expenses, charges and costs awarded by the Court shall be payable solely out of the Settlement Fund.

In addition, Lead Plaintiffs may seek payment from the Settlement Fund pursuant to 15 U.S.C. §78u-

4(a)(4) for time and expenses incurred in representing the Class. Lead Counsel reserve the right to

make additional applications for fees and expenses incurred, to be paid out of the Settlement Fund.

        6.2     The Fee and Expense Award, as awarded by the Court, shall be paid to Lead Counsel

from the Settlement Fund, as ordered, immediately upon execution of an order awarding such fees

and expenses, notwithstanding the existence of any timely filed objection thereto, any appeal or

potential for appeal therefrom, or collateral attack on the Settlement or any part thereof. Lead

Counsel may thereafter allocate the attorneys’ fees among other Plaintiffs’ Counsel, if any, in a

manner which they, in good faith, believe reflects the contributions of Plaintiffs’ Counsel to the

initiation, prosecution, and resolution of the Litigation.      Released Persons shall have no

responsibility for, or liability whatsoever with respect to, the Fee and Expense Award or its

allocation.

        6.3     In the event that the Effective Date does not occur, or the Order and Final Judgment

or Fee and Expense Award is reversed or modified, or the Stipulation is canceled or terminated for

any other reason, and such reversal, modification, cancellation or termination becomes final and not

subject to review, and in the event that the Fee and Expense Award has been paid to any extent, then

such of Plaintiffs’ Counsel who have received any portion of the Fee and Expense Award shall

within ten (10) business days from receiving notice from the Defendants’ counsel or from a court of

appropriate jurisdiction, refund to the Settlement Fund such fees and expenses previously paid to

them from the Settlement Fund plus the interest earned thereon at the same rate as earned on the

Settlement Fund consistent with such reversal or modification. Any refunds required pursuant to this

¶6.3 shall be the several obligations of Plaintiffs’ Counsel receiving fees or expenses to make

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appropriate refunds or repayments to the Settlement Fund. Each such Plaintiffs’ Counsel’s law firm

receiving fees and expenses, as a condition of receiving such fees and expenses, on behalf of itself

and each partner and/or shareholder of it, agrees that the law firm and its partners and/or

shareholders are subject to the jurisdiction of the Court for the purpose of enforcing the provisions of

this paragraph.

        6.4       The procedure for and the allowance or disallowance by the Court of the Fee and

Expense Application, or Lead Plaintiffs’ expenses to be paid out of the Settlement Fund, are not part

of the Settlement, and are to be considered by the Court separately from the Court’s consideration of

the fairness, reasonableness, and adequacy of the Settlement, and any determination by the Court

regarding the Fee and Expense Application or Lead Plaintiffs’ expenses shall not impact the finality,

validity, and enforceability of the Settlement, this Stipulation, or the releases contained herein. Any

order or proceeding relating to the Fee and Expense Application or Lead Plaintiffs’ expenses or any

appeal from any order relating thereto or reversal or modification thereof, shall not operate to

terminate or cancel the Settlement, or affect or delay the finality of the Order and Final Judgment

approving this Stipulation and the Settlement of the Litigation.

        6.5       Any fees and expenses awarded by the Court shall be paid solely from the Settlement

Fund. No Released Persons shall have any responsibility for any payment of any kind apart from

payment of the Settlement Fund pursuant to ¶2.1.

        7.        Conditions of Settlement, Effect of Disapproval, Cancellation or
                  Termination

        7.1       The Effective Date of the Stipulation shall be conditioned on the occurrence of all of

the following events:

                  (a)    Execution of this Stipulation and such other documents as may be required to

obtain final Court approval of the Stipulation in a form satisfactory to the Settling Parties;


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                 (b)    the Court has entered the Preliminary Approval Order, as required by ¶3.1

hereof;

                 (c)    the Settlement Amount has been deposited in the Escrow Account, as required

by ¶2.1 above;

                 (d)    the Defendants have not exercised their option to terminate the Stipulation

pursuant to ¶7.4 hereof;

                 (e)    the Court has approved this Stipulation, following notice to the Class

Members and the Final Approval Hearing, as prescribed by Rule 23 of the Federal Rules of Civil

Procedure;

                 (f)    the Court has entered the Order and Final Judgment in the form of Exhibit B

attached hereto; and

                 (g)    the Order and Final Judgment has become Final, as defined in ¶1.16 hereof.

          7.2    This is not a claims-made settlement. As of the Effective Date, no Defendant or other

Person shall have any right to the return of the Settlement Fund or any portion thereof for any

reason. Upon the occurrence of all of the events referenced in ¶7.1 hereof, any and all remaining

interest or right of Defendants in or to the Settlement Fund, if any, shall be absolutely and forever

extinguished. If all of the conditions specified in ¶7.1 hereof are not met, then this Stipulation shall

be cancelled and terminated subject to ¶7.5 hereof unless Lead Counsel and counsel for Defendants

mutually agree in writing to proceed with the Settlement.

          7.3    The Settling Parties shall have the right to terminate the Settlement and this

Stipulation by providing written notice of their election to do so (“Termination Notice”) to all other

parties hereto within thirty (30) days of: (a) the Court’s declining to enter a Preliminary Approval

Order substantively identical to the Preliminary Approval Order submitted by the parties; (b) the

Court’s refusal to approve this Stipulation or a substantively identical Stipulation; (c) the Court’s

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declining to enter the Order and Final Judgment, or a substantively identical document; (d) the Order

and Final Judgment being modified or reversed by the Seventh Circuit Court of Appeals or the

Supreme Court in any manner that results in a document that is not substantively identical to the

document submitted by the parties; (e) as otherwise set forth in the Settling Parties’ Supplemental

Agreement, as provided below; or (f) the Effective Date not otherwise occurring. No order of the

Court or modification or reversal on appeal of any order of the Court concerning the Plan of

Allocation, or Exhibit A-2, or the amount of any attorneys’ fees, costs, expenses, and interest

awarded by the Court to Lead Counsel, Liaison Counsel, Lead Plaintiffs or Plaintiffs’ Counsel, shall

constitute grounds for cancellation or termination of the Settlement.

        7.4     Notwithstanding any other provision or paragraph of this Stipulation, Defendants

shall have the option (which option is to be exercised by the Company) to terminate the Settlement

in the event that a portion of the Class, equal or greater than the portion specified in the separate

supplemental agreement between Lead Counsel and Defendants’ counsel (the “Supplemental

Agreement”) delivers timely and valid requests for exclusion from the Class. The Supplemental

Agreement, which is being executed concurrently herewith, will not be filed with the Court unless

requested by the Court or unless a dispute among the Settling Parties concerning its interpretation or

application arises, and in that event, the Settling Parties will use their reasonable best efforts to file

the Supplemental Agreement for the Court’s in camera review and/or under seal.

        7.5     In the event that the Stipulation is not approved by the Court or the Settlement set

forth in the Stipulation is terminated or fails to become effective in accordance with its terms, the

Settling Parties shall not forfeit or waive any factual or legal defense or contention in the Litigation

and shall be restored to their respective positions in the Litigation as of March 14, 2018. In such

event, the terms and provisions of the Stipulation, with the exception of ¶¶2.7, 2.10, 6.3, 7.5-7.6, 8.1-

8.4, and 10.4-10.5 hereof, shall have no further force and effect with respect to the Settling Parties

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and shall not be used in the Litigation or in any other proceeding for any purpose, and any judgment

or order entered by the Court in accordance with the terms of the Stipulation shall be treated as

vacated, nunc pro tunc. No order of the Court or modification or reversal on appeal of any order of

the Court concerning the Plan of Allocation, or Exhibit A-2, or the amount of any attorneys’ fees,

costs, expenses, and interest awarded by the Court to Plaintiffs’ Counsel shall constitute grounds for

cancellation or termination of the Stipulation.

        7.6     If the Effective Date does not occur, or if the Stipulation is terminated pursuant to its

terms, neither Lead Plaintiffs nor Plaintiffs’ Counsel shall have any obligation to repay any amounts

actually and properly disbursed from the Settlement Fund for the Notice and Administration Costs of

the Settlement pursuant to ¶2.8 hereof. In addition, any expenses already incurred and properly

chargeable to the Settlement Fund for the Notice and Administration Costs of the Settlement

pursuant to ¶2.8 hereof at the time of such termination or cancellation, but which have not been paid,

shall be paid by the Escrow Agent in accordance with the terms of the Stipulation prior to the

balance being refunded in accordance with ¶2.10 hereof.

        8.      No Admission of Wrongdoing

        8.1     Defendants’ execution of this Stipulation does not constitute an admission by any

Defendant or their Related Parties: (i) of any wrongdoing, violation of law, or liability whatsoever;

or (ii) that recovery could be had in any amount should the action not be settled. Defendants

expressly deny that Lead Plaintiffs have asserted any valid claims as to any of them, and expressly

deny any and all allegations of fault, damages, wrongdoing and liability and maintain that their

conduct at all times was legal and proper.

        8.2     Lead Plaintiffs’ execution of this Stipulation does not constitute an admission by

Lead Plaintiffs: (i) of the lack of any wrongdoing, violation of law, or liability on behalf of any

Defendant whatsoever; or (ii) that recovery could not be had should the action not be settled.

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        8.3       Neither the Stipulation nor the Settlement, whether or not they are consummated, nor

any act performed or document executed pursuant to or in furtherance of the Stipulation or the

Settlement:

                  (a)    shall be offered against any of the Defendants or Released Persons as

evidence of, or construed as, or deemed to be evidence of any presumption, concession, or admission

by any of the Released Persons with respect to the truth of any fact alleged by Lead Plaintiffs, the

validity of any claim that was or could have been asserted, or the deficiency of any defense that has

been or could have been asserted in this Litigation or in any other litigation, or of any liability,

negligence, fault, or other wrongdoing of any kind of any of the Released Persons or in any way

referred to for any other reason as against any of the Released Persons, in any civil, criminal or

administrative action or proceeding, other than such proceedings as may be necessary to effectuate

the provisions of this Stipulation;

                  (b)    shall be offered against Lead Plaintiffs, as evidence of, or construed as, or

deemed to be evidence of any presumption, concession or admission by Lead Plaintiffs that any of

their claims are without merit, that any of the Released Persons had meritorious defenses, or that

damages recoverable in this Litigation would not have exceeded the Settlement Amount or with

respect to any liability, negligence, fault or wrongdoing of any kind, or in any way referred to for

any other reason as against Lead Plaintiffs, in any civil, criminal or administrative action or

proceeding, other than such proceedings as may be necessary to effectuate the provisions of this

Stipulation; or

                  (c)    shall be construed against any of the Released Persons or Lead Plaintiffs as an

admission, concession, or presumption that the consideration to be given hereunder represents the

amount which could be or would have been recovered after trial.



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        8.4     Any Settling Party may file this Stipulation and/or the Order and Final Judgment in

any action that may be brought to enforce the terms of the Stipulation or the Order and Final

Judgment and specifically such documents may be filed by Defendants or their Related Parties in

any subsequent insurance coverage litigation.

        9.      Stipulation to Certification of the Class for Settlement Purposes Only

        9.1     The Settling Parties agree that certification of the Class, for settlement purposes only,

is appropriate in the Litigation. For purposes of this Settlement only, the Class comprises all

Members of the Class, as defined in ¶1.5 above. Nothing in this Stipulation shall serve in any

fashion, either directly or indirectly, as evidence or support for certification of a class other than for

settlement purposes, and the Settling Parties intend that the provisions herein concerning

certification of the Class shall have no effect whatsoever in the event the Settlement does not

become Final, as defined in ¶1.16 above.

        9.2     The Settling Parties therefore stipulate to: (i) certification, for settlement purposes

only, of the Class (as defined above), pursuant to Rules 23(a) and (b)(3) of the Federal Rules of Civil

Procedure; (ii) appointment of Lead Plaintiffs as the class representatives; and (iii) appointment of

Lead Counsel as class counsel. Certification of the Class shall be binding only with respect to the

Settlement of the Litigation and only if the Order and Final Judgment contemplated by this

Stipulation becomes Final and the Effective Date occurs.

        10.     Miscellaneous Provisions

        10.1    The Settling Parties (a) acknowledge that it is their intent to consummate this

agreement; and (b) agree to cooperate to the extent reasonably necessary to effectuate and implement

all terms and conditions of the Stipulation, including in seeking Court approval of the Preliminary

Approval Order, and to exercise their best efforts to accomplish the foregoing terms and conditions

of the Stipulation expeditiously and to obtain final approval by the Court of the Settlement. Joy

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Global agrees to cooperate to the extent reasonably necessary to obtain the formal lists of

stockholders entitled to vote on the Acquisition, i.e., those stockholders who were holders of record

of Joy Global common stock at the close of business on September 1, 2016.

         10.2   This Stipulation, the Exhibits attached hereto, and the Supplemental Agreement

constitute the entire agreement between the Settling Parties as to the subject matter hereof and

supersede any prior or contemporaneous written or oral agreements or understandings between the

Settling Parties. No representations, warranties, or inducements have been made to any party

concerning the Stipulation, its Exhibits, or the Supplemental Agreement other than the

representations, warranties, and covenants contained and memorialized in such documents.

         10.3   Except as otherwise provided for herein, each party shall bear his, her or its own

costs.

         10.4   The Settling Parties intend this Settlement to be a final and complete resolution of all

disputes between them with respect to the Litigation. The Settlement compromises all claims that

were contested in the Litigation and that could have been asserted in the Litigation and shall not be

deemed an admission by any Settling Party as to the merits of any claim or defense. Pursuant to 15

U.S.C. §78u-4(c)(1), the Settling Parties agree and the Order and Final Judgment will contain a

statement that, during the course of the Litigation, the Settling Parties and their respective counsel at

all times complied with the requirements of Federal Rule of Civil Procedure 11. The Settling Parties

agree that the amount paid to the Settlement Fund and the other terms of the Settlement were

negotiated in good faith by the Settling Parties, and reflect a settlement that was reached voluntarily

after consultation with competent legal counsel. Whether or not the Stipulation is approved by the

Court and whether or not the Stipulation is consummated, or the Effective Date occurs, the Settling

Parties and their counsel shall use their best efforts to keep all settlement negotiations, settlement

discussions and draft documents confidential; provided, however, that this paragraph (i) shall not

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prevent the Settling Parties from making disclosures to their insurers, auditors, attorneys, officers,

directors or associates, or disclosures to others as may be required by law, and (ii) shall not limit the

materials or evidence that may be offered or referred to by the Settling Parties in disputes, actions, or

proceedings arising between any Released Person and any insurer. The Settling Parties reserve their

right to rebut, in a manner that such party determines to be appropriate, any contention made in any

public forum that the Litigation was brought or defended in bad faith or without a reasonable basis.

        10.5    Except as otherwise provided for herein, all agreements made and orders entered

during the course of the Litigation relating to the confidentiality of information shall survive this

Stipulation.

        10.6    The Settling Parties agree to take no action in connection with the Settlement that is

intended to, or that would reasonably be expected to, harm the reputation of any of the Settling

Parties (including a party’s officers, directors, employees, agents, or attorneys), or that would

reasonably be expected to lead to unfavorable publicity for any of the Settling Parties.

        10.7    This Stipulation shall be construed and interpreted to effectuate the intent of the

Settling Parties, which is to resolve completely those claims and disputes, including in this

Litigation, and as more fully described herein.

        10.8    All of the Exhibits to the Stipulation are material and integral parts hereof and are

fully incorporated herein by this reference.

        10.9    The Stipulation may be amended or modified only by a written instrument signed by

or on behalf of all Settling Parties or their respective successors-in-interest.

        10.10 Neither the Class Members nor Defendants shall be bound by the Stipulation if the

Court modifies any terms thereof, provided, however, that it shall not be a basis for Class Members

to terminate the Settlement if the Court modifies any proposed Plan of Allocation or criteria for

allocation of the Net Settlement Fund amongst Authorized Claimants, or Exhibit A-2 hereto, or if the

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Plan of Allocation is modified on appeal. Nor shall it be a basis to terminate the Stipulation if the

Court disapproves of or modifies the terms of this Stipulation with respect to attorneys’ fees or

expenses, or time or expenses awarded by the Court to Lead Plaintiffs, or interest as may be awarded

by the Court, or the distribution of the Net Settlement Fund. Notwithstanding any such modification

of the Plan of Allocation, or Exhibit A-2 hereto, or the terms of the Stipulation with respect to fees or

expenses or interest, Defendants and their Related Parties shall be entitled to all benefits of the

Settlement and shall not, under any circumstances, be called upon to contribute additional funds to

the Settlement Fund.

        10.11 Lead Plaintiffs and Lead Counsel represent and warrant that none of the Lead

Plaintiffs’ claims or causes of action referred to in this Litigation or this Stipulation has been

assigned, encumbered, or in any manner transferred in whole or in part.

        10.12 Each counsel or other Person executing the Stipulation or any of its Exhibits on

behalf of any party hereto hereby warrants that such Person has the full authority to do so.

        10.13 All notices, requests, demands, claims, and other communications hereunder shall be

in writing and shall be deemed duly given: (i) when delivered to the recipient; (ii) five (5) business

days after being sent to the recipient by reputable overnight courier service (charges prepaid); or (iii)

eight (8) business days after being mailed to the recipient by certified or registered mail, return

receipt requested, and postage prepaid, and addressed to the intended recipient as set forth below:

        If to Lead Plaintiffs or to Plaintiffs’ Counsel:

        David A. Knotts
        Robbins Geller Rudman & Dowd LLP
        655 West Broadway, Suite 1900
        San Diego, CA 92101-8498
        Telephone: (619) 231-1058
        dknotts@rgrdlaw.com

        If to Defendants or to Defendants’ Counsel:

        Vincent A. Sama
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        Arnold & Porter Kaye Scholer LLP
        250 West 55th Street
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        Telephone: (212) 836-8708
        vincent.sama@arnoldporter.com

        Bryan B. House
        Foley & Lardner LLP
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        Milwaukee, WI 53202
        Telephone: (414) 271-2400
        bhouse@foley.com

        Peter C. Hein
        Wachtell, Lipton, Rosen & Katz
        51 West 52nd Street
        New York, NY 10019
        Telephone: (212) 403-1000
        PCHein@wlrk.com
        10.14 The Stipulation may be executed in one or more counterparts. All executed

counterparts and each of them shall be deemed to be one and the same instrument. A complete set of

executed counterparts shall be filed with the Court. Signatures sent by facsimile or PDF via email

shall be deemed originals.

        10.15 The Stipulation shall be binding upon, and inure to the benefit of, the heirs,

successors and assigns of the Settling Parties.

        10.16 The Court shall retain jurisdiction with respect to implementation and enforcement of

the terms of the Stipulation, and the Settling Parties submit to the jurisdiction of the Court for

purposes of implementing and enforcing the Settlement embodied in the Stipulation.

        10.17 The waiver by one party of any breach of this Stipulation by any other party shall not

be deemed a waiver by any other party or a waiver of any other prior or subsequent breach of this

Stipulation.

        10.18 Pending approval of the Court of the Stipulation and its Exhibits, all proceedings in

this Litigation shall be stayed and all Class Members shall be barred and enjoined from prosecuting

any of the Released Claims against any of the Released Persons.
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            10.19 The Stipulation and the Exhibits attached hereto and the Supplemental Agreement

shall be considered to have been negotiated, executed, and delivered, and to be wholly performed, in

the State of Wisconsin, and the rights and obligations of the parties to the Stipulation shall be

construed and enforced in accordance with, and governed by, the internal, substantive laws of the

State of Wisconsin without giving effect to that State's choice-of-law principles.

            10.20 The headings herein are used for the purpose of convenience only and are not meant

to have legal effect.

            10.21 This Stipulation shall not be construed more strictly against one party than another

merely by virtue of the fact that it, or any part of it, may have been prepared by counsel for one of

the Settling Parties, it being recognized that it is the result of arm's-length negotiations between the

Settling Parties and each of the Settling Parties have contributed substantially and materially to the

preparation of this Stipulation.

            IN WITNESS WHEREOF, the parties hereto have caused the Stipulation to be executed, by

their duly authorized attorneys, dated May 22, 2018.

                                                   ROBBINS GELLER RUDMAN
                                                    &DOWDLLP
                                                   RANDALL J. BARON
                                                   DA YID T. WISSBROECKER

                                                   DAV~


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                                                   212/697-7 296 (fax)
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                                  Tate




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                                  CERTIFICATE OF SERVICE
       I hereby certify that on May 23, 2018, I authorized the electronic filing of the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such filing to the

e-mail addresses denoted on the attached Electronic Mail Notice List, and I hereby certify that I

caused to be mailed the foregoing document or paper via the United States Postal Service to the non-

CM/ECF participants indicated on the attached Manual Notice List.

       I certify under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed on May 23, 2018.

                                                   s/ David A. Knotts
                                                   DAVID A. KNOTTS

                                                   ROBBINS GELLER RUDMAN
                                                     & DOWD LLP
                                                   655 West Broadway, Suite 1900
                                                   San Diego, CA 92101-8498
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Mailing Information for a Case 2:16-cv-01229-PP Duncan v. Joy
Global Inc et al
Electronic Mail Notice List

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                                                                                                 Page 2 of 2



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Manual Notice List

The following is the list of attorneys who are not on the list to receive e-mail notices for this case (who
therefore require manual noticing). You may wish to use your mouse to select and copy this list into
your word processing program in order to create notices or labels for these recipients.
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